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                                               Judgment in a Criminal Case
                                                                                                                                                       FILED
                                                                                                                                                      -_._.---
       ""AO 245B (CASD) (Rev. 4/14)
                    Sheet 1
                                                                                                                                                         JUN 1 5 2015
                                                                                                                                               ~~LEfi". u.s. DI5TliicTCOliliT
                                                                                                                                                 ) i1"HEHN DI5TfliCT OF C)llIFOHNI)\
                                                           UNITED STATES DISTRICT COUR1                                                            C.                        DEPUTY

                                                                  SOUTHERN DISTRICT OF CALIFORNIA
                           UNITED STATES OF AMERICA                                                         JUDGMENT IN A CRIMINAL CASE
                                                    v.                                                      (For Offenses Committed On or After November I, 1987)

                               HOVAKIM SOGOMONIAN                                                           Case Number: 13CR3482-BTM
                                                                                                             JEROME KAPLAN
                                                                                                            Defendant's Attorney
       REGISTRATION NO. 66776112
       o
       THE DEFENDANT:
       181 pleaded guilty to count(s) _I_O;..F_T_H_E_IN_D_IC_T_M_E_N_T_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
       0 was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
             after a plea of not guilty.
             Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                                                    Count
       Title & Section                                   Nature of Offense                                                                                         Number(s)
18 USC 1349                                      CONSPIRACY TO COMMIT BANK FRAUD                                                                                         I




        The defendant is sentenced as provided in pages 2 through     5    of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 'X1
 ~ Count(s) .:.::e:::m:::a:::m:::m~g"_c:::o:::u:::nt:::s..:;o~t
             R            ..                             f h:::e..:;In='
                                                                      d':::ct::;m:::e::;nt'-_ _ _ _ _ _ _ _ _ is   0     /VI
                                                                                                                       are~        d'tSmlsse
                                                                                                                                        . d on t hemotIOn
                                                                                                                                                       . 0f t he Unite d States.

 181 Assessment: $100 to be paid within six (6) months of release.

 181 Fine waived                                                   o
                                                     Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                                                      MAY 27, 2015
                                                                                                     Date of Imposition of Sentence



                                                                                                     ~fecO~.
                                                                                                    HOJii3ARR TED MOSKOWITZ
                                                                                                     UNITED STATES DISTRICT JUDGE


                                                                                                                                                                     13CR3482-BTM
    Case 3:13-cr-03482-BTM                     Document 284          Filed 06/15/15         PageID.1378          Page 2 of 5

AO 245B (CASD) (Rev. 4/14) Judgment in a Criminal Case
           Sheet 2 -Imprisonment

                                                                                                Judgment - Page _...;2=-_ of   5
DEFENDANT: HOYAKIM SOGOMONIAN
CASE NUMBER: 13CR3482-BTM
                                                          IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         EIGHT (8) MONTHS.




    o   Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
                                                                                       &;::tl~K~
                                                                                            UNITED STATES DISTRICT JUDGE
         That the defendant serve his sentence in Southern California to facilitate family visits.




    o   The defendant is remanded to the custody of the United States Marshal.

    o   The defendant shall surrender to the United States Marshal for this district:
           Oat                                    Oa.m.     Op.m.         on _ _ _ _ _ _ _ _ _ __

              as notified by the United States Marshal.

    181 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         181 before 12:00 p.m. on July 10,2015 or to this Court by 2:00 p.m. on that same date.
         o    as notified by the United States Marshal.
         o    as notified by the Probation or Pretrial Services Office.



                                                               RETURN

I have executed this judgment as follows:

        Defendant delivered on                                                    to

at _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                             UNITED STATES MARSHAL


                                                                     By _ _ _ _~~~~~~~~~~-----
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                       13CR3482-BTM
       Case 3:13-cr-03482-BTM                     Document 284               Filed 06/15/15            PageID.1379             Page 3 of 5
AO 2458 (CASD) (Rev.4114) Judgment in a Criminal Case
           Sheet 3 - Supervised Release
                                                                                                                 Judgment-Page    _~31-_     of        5
DEFENDANT: HOVAKIM SOGOMONIAN                                                                           o
CASE NUMBER: 13CR3482-BTM
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
THREE (3) YEARS.


         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on 01' after September J3, J994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
substance. The defendant shalt submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 2 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          --
D The above drug testing condition is suspended, based on the court's detelmination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tne requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)
o The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shalt work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shalt not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
 10)    the defendant shalt permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
 II)    the defendant shall notity the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)    the defendant shal1 not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
 13)    as directed by the probation officer. the defendant shalt notity third parties of risks that may be occasioned by the defendant's criminal
        record or pcrsonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
        defendant's compliance with such notification requirement.

                                                                                                                                         13CR3482-BTM
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        AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
                   Sheet 4 - Special Conditions
                                                                                                         Judgment   Page _ _4_ of   _--,,-5_ _
        DEFENDANT: HOVAKIM SOGOMONIAN
        CASE NUMBER: 13CR3482-BTM




                                             SPECIAL CONDITIONS OF SUPERVISION
!VI Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
~ a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant t<
    this condition.

181 Make restitution to the Wells Fargo Bank in the amount of$551,842.00, to be paid in installments of$200.00 per month. Jointly and
    Severally with co-defendants
o Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o Not reenter the United States illegally.
181 Not enter the Republic of Mexico without written permission ofthe Court or probation officer.
181 Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
181 Not possess any narcotic drug or conh'olled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.

181 Remain in your place of residence for a period of 120 days, except while working at verifiable employment, attending religious services, or
    undergoing medical treatment or any such other reasons approved by the probation officer in writing. The defendant shall be subject to
    electronic monitoring, at his expense.



o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
181 Provide complete disclosure of personal and business financial records to the probation officer as requested.
181 Be prohibited from opening bank or credit card accounts 01' incurring new credit charges or opening additional lines of credit without
    approval of the probation officer.
181 Seek and maintain full time employment and/or schooling or a combination of both.
o   Resolve all outstanding warrants within               days.
o Complete hours of community service in a program approved by the probation officer within
o Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter the United
    States illegally and report to the probation officer within 72 hours of any reentry to the United States; the other conditions of supervision are
    suspended while the defendant is out ofthe United States after deportation, exclusion, or voluntary departure.

181 The defendant shall notify the Collections Unit, United States Attorney's Office within 10 days, of obtaining any interest in property,
    directly or indirectly, valued at $1,000 or more including any interest obtained under any other name, or entity, including a trust, partnership,
    or corporation until restitution is paid in full. The defendant shall notifY the Collections Unit, United States Attorney's Office at least 10
    days, before transferring any interest in property valued at $1 ,000 or more owned directly or indirectly by the Defendant, including any
    interest held or owned under any other name or entity, including a trust, partnership, and/or corporations.




                                                                                                                                    HrR~4R?_RTM
  ,"   Case 3:13-cr-03482-BTM         Document 284         Filed 06/15/15      PageID.1381        Page 5 of 5

AO 245S (CASD Rev. 08/13) Judgment in a Criminal Case

  DEFENDANT:              HOVAKlM SOGOMONIAN [I]                                               Judgment - Page 5 of 5
  CASE NUMBER:            I3CR3482-BTM

                                            RESTITUTION


 The defendant shall pay restitution in the amount of $551,842.00            unto the United States of America.
 For the benefit of Wells Fargo Bank through the Clerk of Court jointly and Severally with co-defendants.




This sum shall be due immediately. And shall be paid as follows: In installments of $200 per month.




The Court has determined that the defendant     does not      have the ability to pay interest. It is ordered that:
       The interest requirement is waived




                                                                                                        13CR3482-BTM
